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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )       CRIMINAL ACTION NO.
       v.                                )          2:03cr57-MHT
                                         )               (WO)
MARNAIL WASHINGTON                       )

                              OPINION AND ORDER

      This case is before the court on defendant Marnail

Washington’s           motion     for     a     reduction    in    sentence

pursuant        to    18    U.S.C.   §   3582(c)(1)(A)       and   U.S.S.G.

§ 1B1.13.             Washington        seeks    a   reduction      of     his

439-month total sentence to a sentence of time served.

The motion, which is unopposed by the government, will

be granted for the following reasons.

      18    U.S.C.         § 3582(c)(1)(A)      authorizes    a    court   to

modify      a        term    of   imprisonment       only     in    certain

enumerated circumstances.                    As relevant here, a court

may

      “upon motion of the Director of the Bureau of
      Prisons, or upon motion of the defendant after
      the   defendant   has   fully  exhausted   all
      administrative rights to appeal a failure of
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     the Bureau of Prisons to bring a motion on the
     defendant's behalf or the lapse of 30 days from
     the receipt of such a request by the warden of
     the defendant's facility, whichever is earlier,
     may reduce ... [a] term of imprisonment (and
     may impose a term of probation or supervised
     release with or without conditions that does
     not exceed the unserved portion of the original
     term of imprisonment), after considering    the
     factors set forth in ... [18 U.S.C. §] 3553(a)
     to the extent that they are applicable, if it
     finds that ... extraordinary and compelling
     reasons warrant such a    reduction[; ...] and
     that such a reduction is consistent with
     applicable policy statements issued by the
     Sentencing Commission.”

18    U.S.C.      § 3582(c)(1)(A)(i).                    U.S.     Sentencing

Guidelines      § 1B1.13      is    the       policy      statement      that

governs motions under 18 U.S.C. § 3582(c)(1)(A)(i) and

defines the circumstances in which extraordinary and

compelling      reasons     warranting         a       sentence    reduction

exist.

     Defendant       Washington         has        met     each     of    the

requirements       for    relief     under         §     3582(c)(1)(A)(i).

First, the government concedes that Washington has met

the exhaustion requirement, and the court so finds.

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     Second, the court has considered the factors under

18 U.S.C. § 3553(a) and finds that they weigh in favor

of   a   sentence       reduction.        In       particular,          the    court

notes    that     a    defendant    charged          today     with      the    same

offenses     as       Washington    would          receive     a    much       lower

sentence     than      Washington    did,          due    to   changes         to   18

U.S.C. § 924(c) passed by Congress after Washington was

sentenced.        As a result, “the need to avoid unwarranted

sentence     disparities          among       defendants        with      similar

records who have been found guilty of similar conduct”

weighs     particularly      heavily          in    favor      of   a    sentence

reduction in this case.            18 U.S.C. § 3553(a)(6).

     The    court       further    finds       that       extraordinary             and

compelling      reasons     warrant       a    reduction           of   sentence.

Washington argues, inter alia, that he is entitled to a

sentence      reduction       under        § 1B1.13(b)(3)(C),                  which

provides     that       extraordinary          and       compelling       reasons

exist based on “the incapacitation of the defendant’s


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parent when the defendant would be the only available

caregiver for the parent.”            U.S. Sentencing Guidelines

§ 1B1.13 (2023 ed.).         The government concedes, and the

court   agrees,     that    Washington       is   eligible      for    a

sentence reduction under this provision based on his

mother’s incapacitation and lack of other caregivers.

    Under Policy Statement 1B1.13(a)(2), a defendant is

eligible for a sentence reduction only if the court

finds that he is “not a danger to the safety of any

other person or to the community, as provided in 18

U.S.C. § 3142(g).”         Id.   Having considered the factors

in 18 U.S.C. § 3142(g), the court finds that Washington

is not a danger to the safety of any other person or to

the community.     As an initial matter, Washington was in

his early twenties when he was sent to prison, but he

is now 43 years old, far more mature, and therefore

less likely to commit crimes.              Indeed, as Washington

points out, the Bureau of Prisons has determined that


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he    has    a    low    risk   of   re-offending       with    an    act    of

violence and a low risk of recidivism in general.                           But

more importantly, he has been an exceptional prisoner

who has made the most of his lengthy incarceration by

participating           in   extensive     rehabilitative      programming

and    who       has    impressed    correctional       staff       with    his

positive attitude and hard work.                The government agrees

that he is not a danger.              See Govt. Response (Doc. 206)

(“Although         Washington’s       crimes     were     unquestionably

serious, the government is satisfied that Washington’s

long period of time in prison, his sincere efforts at

rehabilitation, and his apparent sterling record while

incarcerated           alleviate     any    concern     that    Washington

would be a danger to the community.”).

      In sum, Washington has met all of the requirements

for      a        sentence       reduction       under         18     U.S.C.

§ 3582(c)(1)(A)(i).

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      Accordingly, it is ORDERED that:

      (1) Defendant Marnail Washington’s renewed motion

for      a      sentence       reduction        under       18     U.S.C.

§ 3582(c)(1)(A)(i) (Doc. 198) is granted.

      (2) Defendant        Washington’s      custodial      sentence      is

reduced to time served.

      DONE, this the 8th day of October, 2024.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE




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